Case 2:10-cv-00589-BS.] Document 13 Filed Ol/lO/ll Page 1 of 3

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IN THE UNITED sTATEs DISTR!CmC:oURd“\ lift l')COUl°\l

DISTRICT OF UTAH, CENTRAL DIVISION _ uq l
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PRovo sTEEL & sUPPLY Co., D\‘i> l l"<l(» ill m
Civil Actiorhl?lo. gl_@~jcv- -QQiSQ.-BSJ
Plaintiff, gm §")U\*( t\,il§.l"<`ri
V. STIPULATE]) ORDER
OF DISMISSAL
HERITAGE SAFE COMPANY,
Defendant.

 

 

Plaintiff Provo Steel & Supply Co. (“ProSteel”), having commenced this civil action
against defendant I-Ieritage Safe Company (“I-Ieritage”) asserting claims for infringement of U.S.
Patent No. 7,409,790 (“the ‘790 Patent”);

The Court being fully advised that the parties have entered into a Settlement Agreement
effective Decernber 13, 2010 resolving all issues now pending between the parties, including all
claims asserted in the Complaint, and Which provides for entry of this Stipulated Order of

Dismissal (the “Settlernent Agreement”):

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
THAT:

1. This Court has jurisdiction over the parties and over the subject matter of this
action, and venue is proper l

2. Heritage shall not contest that: (i) the claims in the ‘790 Patent are valid and
enforceable; and (ii) Heritage’s “Ruger Assault Vault” safe, l\/[odel No. RAV 3660, infringes one

or more claims in the "790 Patent.

Case 2:10-cv-00589-BS.] Document 13 Filed 01/10/11 Page 2 of 3

3. Heritage, including Without limitation, its directors and officers, representatives,
agents, servants, employees, affiliates, and all other persons or entities in active concert or
participation With Heritage or under the direction of Heritage, is hereby permanently enjoined
during the remaining term of the ‘790 Patent from: (i) making, using, importing, offering to sell,
or selling-the “Ruger Assault Vault” Model No. RAV 3660 and any other safe not more than
colorably different from the RAV 3660 safe; and (ii) contributing to, or inducing, any other
person or entity to mal<e, use, import, offer to sell or sell the RAV 3660 safe or any other safe not

more than colorably different from the RAV 3660 safe.

4. All claims in this Action are hereby dismissed With prejudice
5. Each party shall bear its own costs and attomeys' fees.
6. Jurisdiction is hereby reserved over all matters relating to the administration and

performance of this Order and enforcement of the Settlement Agreement.
7. The Clerl< of the Court is directed to enter and docket this Stipulated Order of

Dismissal in this Action.

SO ORDERED,
this /Or day o§>d'e‘:`“l§’ e\ZBrZOld
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United St es Distric Judge

 
 

Case 2:10-cv-00589-BS.] Document 13 Filed 01/10/11 Page 3 of 3

,Counsel for all parties consent to the terms of, and agree to the form of and entry of this

Stipulated Order of Dismissal.

DATED: December , 2010

DATED: December __, 2010

DURHAM JoNEs & PiNEGAR,' P.c.

By: -
David W. Tufts (State Bar No. 8736)

 

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